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February 17, 2023

Dear Stephen Stamboulieh:

The following is in response to your request for proof of delivery on your item with the tracking number:
4202 0226 9514 8066 7431 3044 4445 55.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     February 16, 2023, 5:33 am
Location:                                               WASHINGTON, DC 20226
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 13.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
